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                           UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
12
     KONINKLIJKE PHILIPS N.V. and              CASE NO. 2:19-cv-01366
13   PHILIPS NORTH AMERICA LLC,
14                                             COMPLAINT FOR PATENT
                        Plaintiffs,            INFRINGEMENT
15
16                v.                           JURY TRIAL DEMANDED

17   TONGFANG GLOBAL INC.,
18   TONGFANG GLOBAL LTD.,
     WESTINGHOUSE ELECTRONICS,
19   LLC, WESTINGHOUSE ELECTRONICS
20   LTD., TSINGHUA TONGFANG CO.,
     LTD., SHENYANG TONGFANG
21   MULTIMEDIA TECHNOLOGY CO.,
22   LTD., SEIKI CORP., AND SEIKI
     DIGITAL, INC.
23
24                      Defendants.

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 1         Plaintiffs Koninklijke Philips N.V. (“Philips N.V.”) and Philips North America
 2   LLC (“Philips North America”) (collectively, “Plaintiffs” or “Philips”), by counsel and
 3   pursuant to Federal Rule of Civil Procedure 8, hereby allege the following in support of
 4   their Complaint against Tongfang Global Inc., Tongfang Global Ltd., Westinghouse
 5   Electronics, LLC, Westinghouse Electronics Ltd., Tsinghua Tongfang Co., Ltd.,
 6   Shenyang Tongfang Multimedia Technology Co., Ltd., Seiki Corp., and Seiki Digital,
 7   Inc. (collectively “Defendants” or “Tongfang Global”):
 8                               NATURE OF THE ACTION
 9         1.     This is an action for patent infringement arising under the patent laws of
10   the United States, Title 35, United States Code, by Philips against Defendants for
11   infringement of U.S. Patent No. 9,590,977 (“the ’977 patent”) and U.S. Patent
12   No. 7,052,152 (“the ’152 patent”) (collectively, “the Asserted Patents”). Plaintiffs
13   assert these patents against Defendants for the unauthorized making, using, offering to
14   sell, selling, and/or importing of instrumentalities practicing the subject matter claimed
15   in the Asserted Patents.
16                                          PARTIES
17         2.     Plaintiff Koninklijke Philips N.V. is a corporation duly organized and
18   existing under the laws of the Netherlands. Its principal place of business is High Tech
19   Campus 5, 5656 AE Eindhoven, the Netherlands.
20         3.     Plaintiff Philips North America LLC is a limited liability company duly
21   organized and existing under the laws of Delaware. Its principal place of business is
22   3000 Minuteman Road, Andover, Massachusetts, 01810.
23         4.     On information and belief, Defendant Tongfang Global Inc. is a
24   corporation organized under the laws of California having a principal place of business
25   at 6255 Providence Way, Eastvale, CA 92880.
26         5.     On information and belief, Defendant Tongfang Global Inc.’s registered
27   agent is Andy Huang, located at 6255 Providence Way, Eastvale, CA 92880.
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                                                1         COMPLAINT FOR PATENT INFRINGEMENT
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 1         6.    On information and belief, Tongfang Global Inc. is a subsidiary of
 2   Tongfang Global Ltd.
 3         7.    On information and belief, Defendant Tongfang Global Ltd. is a
 4   corporation organized under the laws of China having a principal place of business at
 5   Rm. 3312 33/F Shui On Ctr., 6-8 Harbour Rd, Wan Chai, Hong Kong, Hong Kong SAR.
 6         8.    On information and belief, Tongfang Global Ltd. is a parent company of
 7   Tongfang Global Inc. and Westinghouse Electronics Ltd.
 8         9.    On information and belief, Defendant Westinghouse Electronics, LLC is a
 9   limited liability company organized under the laws of California having a principal
10   place of business at 6255 Providence Way, Eastvale, CA 92880.
11         10.   On information and belief, Defendant Westinghouse Electronics Ltd. is a
12   corporation organized under the laws of China having a principal place of business at
13   Rm. 2105 21/F Wing On Ctr., 111 Connaught Rd C, Sheung Wan, Hong Kong, Hong
14   Kong SAR.
15         11.   On information and belief, Westinghouse Electronics Ltd. is a subsidiary
16   of Tongfang Global Ltd.
17         12.   On information and belief, Defendant Tsinghua Tongfang Co., Ltd.
18   (“Tsinghua Tongfang”) is a corporation organized under the laws of China having a
19   principal place of business at 30/F, Tower A, Tsinghua, Tongfang High-Tech Plaza,
20   No. 1, Wangzhua, Beijing, Beijing 100083, China.
21         13.   On information and belief, Defendant Shenyang Tongfang Multimedia
22   Technology Co., Ltd. (“Tongfang Multimedia”) is a corporation organized under the
23   laws of China having a principal place of business at No. 10, Nanping East Road,
24   Hunnan New Area, Shenyang, Liaoning 110179, China.
25         14.   On information and belief, Tongfang Global Ltd. and Tongfang
26   Multimedia are subsidiaries of Tsinghua Tongfang.
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                                             2          COMPLAINT FOR PATENT INFRINGEMENT
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 1         15.    On information and belief, Defendant Seiki Corp. is a corporation
 2   organized under the laws of California having a principal place of business at 12246
 3   Colony Ave., Chino, CA 91710.
 4         16.     On information and belief, Defendant Seiki Corp.’s registered agent is
 5   Kevin Liu, located at 801 S. Garfield Ave., Suite 338, Alhambra, CA 91801.
 6         17.    On information and belief, Defendant Seiki Corp. was formerly known as
 7   Kelly Digital Inc.
 8         18.    On information and belief, Defendant Seiki Digital, Inc. is a corporation
 9   organized under the laws of California having a principal place of business at 12246
10   Colony Ave., Chino, CA 91710.
11         19.    On information and belief, Defendant Seiki Digital, Inc.’s registered agent
12   is Tak Hung Lam, located at 12246 Colony Ave., Chino, CA 91710.
13                               JURISDICTION AND VENUE
14         20.    This action arises under the patent laws of the United States, Title 35
15   U.S.C. §§ 1, et seq. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331,
16   1338(a), 2201, and 2202.
17         21.    This Court has personal jurisdiction over Tongfang Global Inc.,
18   Westinghouse Electronics, LLC, Seiki Corp., and Seiki Digital, Inc. because these
19   entities are incorporated in the State of California.
20         22.    On information and belief, this Court has personal jurisdiction over
21   Defendants because each of the Defendants has, directly or through intermediaries,
22   established minimum contacts with the forum such that the exercise of personal
23   jurisdiction over Defendants will not offend traditional notions of fair play and
24   substantial justice.
25         23.    On information and belief, each of the Defendants has regularly and
26   purposefully availed itself of the privilege of conducting business activities within
27   California and this Judicial District. On information and belief, Defendants have
28   purposefully availed themselves of the rights and benefits of California law and have

                                                3            COMPLAINT FOR PATENT INFRINGEMENT
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 1   engaged in systematic and continuous contacts with California. On information and
 2   belief, Defendants derive substantial revenue from the sale of infringing products and/or
 3   services in California and have availed themselves of the privilege of conducting
 4   business within California.
 5          24.   On information and belief, personal jurisdiction is proper because
 6   Defendants have committed acts of infringement in this Judicial District. This Court has
 7   personal jurisdiction over Defendants because, inter alia, this action arises from
 8   activities Defendants directed towards California.
 9          25.   Exercising personal jurisdiction over Defendants in this District would not
10   be unreasonable given Defendants’ contacts in this District, the interest in this District
11   of resolving disputes related to products and/or services sold herein, and the harm that
12   would occur to Plaintiffs.
13          26.   In addition, Defendants have knowingly induced, and continue to
14   knowingly induce, infringement within this District by advertising, marketing, offering
15   for sale and/or selling devices with hardware and/or software containing infringing
16   functionality within this District, to consumers, customers, manufacturers, distributers,
17   resellers, partners, and/or end users, and providing instructions, user manuals,
18   advertising, and/or marketing materials which facilitate, direct, or encourage the use of
19   infringing functionality with knowledge thereof.
20          27.   For these reasons and for other reasons that will be presented to the Court
21   if jurisdiction is challenged, the Court has personal jurisdiction over Defendants.
22          28.   Venue is proper under 28 U.S.C. §§ 1391(b), 1391(c), and 1400(b) because
23   Defendants are either incorporated in the State of California and reside in this Judicial
24   District, or are foreign entities amenable to suit in any U.S. district. Defendants have
25   additionally engaged and continue to engage in infringing activity in this Judicial
26   District.
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 1                                FACTUAL BACKGROUND
 2         29.    Philips is a world-renowned company that engages in research and
 3   development in numerous technological fields. One of these fields pertains to
 4   televisions and set-top boxes for delivering and displaying content to users. Exemplary
 5   products in this field include television receivers and television display devices,
 6   including high-definition televisions, media-receivers, and cable, satellite, terrestrial or
 7   set-top boxes. The Asserted Patents derive from Philips’ efforts in this field and claim
 8   protection for, among other things, delivering and displaying content.
 9         30.    Philips operates a global patent licensing program that includes the
10   Asserted Patents. While other manufacturers using the patented technology have taken
11   licenses to the Asserted Patents, Defendants have refused to engage in any licensing
12   discussions to date and continue to infringe the ’977 and ’152 patents.
13         31.    The United States Patent and Trademark Office (“USPTO”) issued the
14   ’977 patent to inventor Franciscus L. A. J. Kamperman on March 7, 2017. The ’977
15   patent bears the title “Secure Authenticated Distance Measurement.” A true and
16   accurate copy of the ’977 patent is attached as Exhibit A.
17         32.    Plaintiff Koninklijke Philips N.V. is the owner and assignee of all rights,
18   title, and interest in the ’977 patent, and holds the right to sue and recover damages for
19   infringement thereof, including current and past infringement.
20         33.    On May 30, 2006, the USPTO issued the ’152 patent to inventors Gerard
21   Harbers and William D. Collins, III. The ’152 patent bears the title “LCD Backlight
22   Using Two-Dimensional Array LEDs.” A true and accurate copy of the ’152 patent is
23   attached as Exhibit B.
24         34.       Plaintiff Philips North America LLC is the owner and assignee of all
25   rights, title, and interest in the ’152 patent, and holds the right to sue and recover
26   damages for infringement thereof, including current and past infringement. Philips
27   Electronics North America Corporation, currently identified as the assignee of the ’152
28   patent, is now known as Philips North America LLC.

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 1         35.       Defendants had knowledge of the Asserted Patents in advance of the
 2   filing of this Complaint.
 3         36.       On June 22, 2016, Philips sent a letter to Mr. Mickey Cho, then General
 4   Manager of Tongfang Global Inc., notifying Mr. Cho that several televisions sets made
 5   by Tongfang Global and sold under the brands of Westinghouse, Seiki, and Element
 6   infringe the ’152 patent. Philips also identified two exemplary infringing products,
 7   including Westinghouse television model WD50UC4300 and Seiki television model
 8   SE42UMS. Philips expressed a willingness to license the ’152 patent and others for
 9   both past use and future use.
10         37.       Four months later on October 19, 2016, Mr. Cho responded with a
11   LinkedIn message stating that he was traveling and would be back in Los Angeles
12   within a week to consider Philips’ letter. Philips promptly responded to Mr. Cho’s
13   message that same day, indicating to Mr. Cho that Philips takes enforcement of its
14   intellectual property very seriously and requesting contact information for Tongfang
15   Global Inc.’s IP counsel. Mr. Cho did not respond to this message or follow up his initial
16   LinkedIn message.
17         38.       On November 10, 2016, Philips sent a second letter indicating
18   Defendants had yet to respond to the June 2016 letter. The November 10, 2016 letter
19   again identified several exemplary Westinghouse, Seiki, and Element televisions made
20   and sold by Tongfang Global Inc. and its affiliates that infringe Philips’ patents. Philips
21   also identified, among others, the ’152 patent. Defendants did not respond to this letter.
22         39.       On September 11, 2017, Philips sent a third letter to Mr. Cho and
23   Tongfang Global Inc. summarizing Philips’ attempts to communicate with Defendants
24   and reiterating that several Westinghouse, Seiki, and Element televisions made and sold
25   by Tongfang Global Inc. and its affiliates infringe Philips’ patents. Philips identified the
26   ’152 patent and the ’977 patent in this letter. Philips additionally provided claim charts
27   for the ’152 and ’977 patents, identifying exemplary infringing products and comparing
28   them to one or more claims of the ’152 and ’977 patents. Philips identified three

                                                6          COMPLAINT FOR PATENT INFRINGEMENT
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 1   exemplary     infringing   products,   including   Westinghouse     television   model
 2   WD50UC4300, Seiki television model SE42UMS, and Element television model
 3   EL4KAMZ4317. Philips forwarded this third letter via email to Pengqi Liu, Senior
 4   Legal Manager of Tsinghua Tongfang.
 5         40.      Receiving no substantive response from Defendants to its September
 6   2017 letter, Philips’ counsel sent a final letter on April 20, 2018, requesting that
 7   Defendants engage in meaningful licensing discussions. Philips set a deadline, which
 8   has now passed, for Defendants to respond and again attached claim charts for the ’977
 9   patent for Defendants to consider. No response was received.
10         41.      On information and belief, Mr. Cho is now the current president of
11   Seiki Corp.
12         42.      Based on at least these letters, Defendants have had knowledge of the
13   ’152 patent in advance of the filing of this Complaint. At the very latest, Defendants
14   were provided notice they were infringing the ’152 patent upon receiving Philips’ letter
15   dated June 22, 2016.
16         43.      Defendants also had knowledge of the ’977 patent in advance of the
17   filing of this Complaint. At the very latest, Defendants were provided notice they were
18   infringing the ’977 patent upon receiving Philips’ letter dated September 11, 2017.
19                      DEFENDANTS’ INFRINGING ACTIVITIES
20         44.      Upon information and belief, Defendants are, and have been, engaged
21   in manufacturing and/or having manufactured, selling and/or offering to sell within the
22   United States, using in the United States, and/or importing into the United States
23   televisions with hardware and/or software containing functionality covered by one or
24   more claims of the ’977 and ’152 patents (“Accused Devices”).
25         45.      Non-limiting examples of the Accused Devices manufactured, sold,
26   offered for sale, used, and/or imported by or for Defendants include various
27   Westinghouse, Element, and Seiki-branded 4K ultra high-definition televisions. On
28   information and belief, these televisions have been sold within this Judicial District,

                                              7          COMPLAINT FOR PATENT INFRINGEMENT
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 1   without limitation, through https://www.elementelectronics.com/tvs/4k-ultra-hd/,
 2   https://www.elementelectronics.com/tvs/fire-tv-edition/, http://westinghouseelectronic
 3   s.com/products/#mobile_product_list, and https://www.seiki.com/tvs/, and the websites
 4   and retail locations of third parties, see, e.g., https://www.bestbuy.com/site/tvs/4k-ultra-
 5   hd-tvs/pcmcat333800050003.c?id=pcmcat333800050003&qp=brand_facet%3D
 6   Brand~Westinghouse, https://www.walmart.com/ip/ELEMENT-65-Class-4K-2160P-
 7   UHD-Smart-LED-TV-E4SW6518/597731618,                 and    https://www.walmart.com/ip/
 8   Seiki-65-Class-4K-Ultra-HD-2160P-Smart-LED-TV-SC-65UK700N/600586997.
 9         46.       Upon information and belief, Defendants purposefully direct sales and
10   offers for sale of the Accused Devices, including those specifically identified below,
11   toward the state of California, including this Judicial District.
12         47.       Upon information and belief, Defendants maintain established
13   distribution channels within the United States that permit Defendants to ship the
14   Accused Devices, including those specifically identified in this Complaint, to the state
15   of California, including this Judicial District.
16                                 FIRST CAUSE OF ACTION
17                   INFRINGEMENT OF U.S. PATENT NO. 9,590,977
18         48.       The allegations of each of foregoing paragraphs are incorporated by
19   reference as if fully set forth herein.
20         49.       The ’977 patent is valid and enforceable.
21         50.       Defendants, in violation of 35 U.S.C. § 271, have infringed and continue
22   to infringe at least claim 1 of the ’977 patent by making, using, offering to sell, selling,
23   and/or importing the Accused Devices that embody and/or practice the features claimed
24   in the ’977 patent, either literally and/or under the doctrine of equivalents, either
25   individually and/or jointly with their customers selling, offering to sell, selling, and/or
26   using the Accused Devices. Defendants’ Accused Devices include, but are not limited
27   to, Westinghouse, Element, and Seiki-branded 4K ultra high-definition televisions.
28   Exemplary infringing Westinghouse-branded 4K televisions include, but are not limited

                                                 8         COMPLAINT FOR PATENT INFRINGEMENT
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 1   to, Westinghouse model numbers WD50UC4300, WE55UB4417, and WG43UX4100.
 2   Exemplary infringing Element-branded 4K televisions include, but are not limited to,
 3   Element model numbers EL4KAMZ4317 and E4SFT5517. Exemplary infringing
 4   Seiki-branded 4K televisions include, but are not limited to, Seiki model numbers
 5   SE42UMS and SC55UK700N.
 6         51.       The Accused Devices infringe one or more claims of the ’977 patent.
 7   For example, claim 1 of the ’977 patent is directed to a receiving device for determining
 8   whether data stored on a first device can be accessed by performing secure authenticated
 9   distance measurement. The Accused Devices embody the claimed invention, without
10   limitation, by including functionality that supports technology for streaming multimedia
11   between devices, including hardware and software that perform secure, authenticated
12   distance measurements in compliance with at least the HDCP 2.0 specification or
13   higher. This hardware and software infringes each element of at least claim 1 of the
14   ’977 patent, either literally and/or under the doctrine of equivalents.
15         52.    Defendants have indirectly infringed and continue to indirectly infringe at
16   least claim 1 of the ’977 patent under 35 U.S.C. § 271, either literally and/or under the
17   doctrine of equivalents, by actively inducing their customers to sell, offer to sell, and/or
18   use the Accused Devices to directly infringe the ’977 patent. This includes Defendants
19   taking active steps to encourage and facilitate others’ direct infringement of the ’977
20   patent with knowledge or willful blindness of that infringement. Upon information and
21   belief, these affirmative acts include, without limitation, advertising, marketing,
22   promoting, offering for sale and/or selling the above-referenced devices, with software
23   containing infringing functionality, to consumers, customers, manufacturers,
24   distributers, resellers, partners, and/or end users, and providing instructions, user
25   manuals, advertising, and/or marketing materials that facilitate, direct, or encourage the
26   direct infringement of the ’977 patent by others with knowledge thereof.
27   See, e.g., https://www.bestbuy.com/site/westinghouse-55-class-led-2160p-smart-4k-
28   uhd-tv-with-hdr/6254810.p?skuId=6254810,             https://www.amazon.com/All-New-

                                                9          COMPLAINT FOR PATENT INFRINGEMENT
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 1   Element-4K-Ultra-HD-Smart-TV-Fire-TV-Edition-43-Inch/dp/B06XD4SXWD,                  and
 2   https://www.walmart.com/ip/SEIKI-55-Class-4K-Ultra-HD-2160P-Smart-LED-TV-
 3   SC55UK700N/648006759.
 4         53.       Defendants have contributed to the infringement of, and continue to
 5   contribute to the infringement of, at least claim 1 of the ’977 patent under 35 U.S.C.
 6   § 271, either literally and/or under the doctrine of equivalents, by selling, offering to
 7   sell, and/or importing within or into the United States the Accused Devices, including
 8   those that implement secure authenticated distance measurement to stream content. The
 9   hardware and software used to perform this distance measurement constitute a material
10   part of the invention of the ’977 patent, are known by Defendants to be especially made
11   or adapted for use in infringing the patent, and are not a staple article or commodity of
12   commerce suitable for substantial noninfringing use.
13         54.       Defendants have had actual knowledge of the ’977 patent at least by
14   virtue of letters from Philips dated September 11, 2017 and April 20, 2018, providing
15   notice of the patent and detailing Defendants’ infringement.
16         55.       Philips N.V. is entitled to recover damages under 35 U.S.C. § 284 to
17   adequately compensate         for   Defendants’ infringement. Defendants’ ongoing
18   infringement is willful and deliberate, as Defendants became aware of the infringing
19   nature of the Accused Devices at least by September 11, 2017.
20         56.       Philips N.V. has been and continues to be damaged and irreparably
21   harmed by Defendants’ infringement of the ’977 patent. This irreparable harm will
22   continue unless this Court enjoins Defendants.
23         57.       Defendants’ conduct in infringing the ’977 patent renders this case
24   exceptional within the meaning of 35 U.S.C. § 285.
25                               SECOND CAUSE OF ACTION
26                   INFRINGEMENT OF U.S. PATENT NO. 7,052,152
27         58.       The allegations of each foregoing paragraphs are incorporated by
28   reference as if fully set forth herein.

                                               10        COMPLAINT FOR PATENT INFRINGEMENT
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 1         59.         The ’152 patent is valid and enforceable.
 2         60.         Defendants, in violation of 35 U.S.C. § 271, have infringed and continue
 3   to infringe at least claim 1 of the ’152 patent by making, using, offering to sell, selling,
 4   and/or importing the Accused Devices practicing the features claimed in the ’152 patent,
 5   either literally and/or under the doctrine of equivalents, either individually and/or jointly
 6   with their customers using the Accused Devices. Defendants’ Accused Devices include,
 7   but are not limited to, Westinghouse, Element, and Seiki-branded 4K ultra high-
 8   definition televisions. Exemplary infringing Westinghouse-branded 4K televisions
 9   include, but are not limited to, Westinghouse model number WD50UC4300. Exemplary
10   infringing Element-branded 4K televisions include, but are not limited to, Element
11   model number EL4KAMZ4317. Exemplary infringing Seiki-branded 4K televisions
12   include, but are not limited to, Seiki model number SE42UMS.
13         61.         For example, claim 1 of the ’152 patent is directed to a display device
14   that includes a housing with reflective surfaces, an array of backlight LEDs having a
15   pitch range, and a diffuser. The Accused Devices embody the claimed invention,
16   without limitation, by including the claimed backlight structure with LEDs arranged in
17   a pitch falling within the claimed range. Defendants’ Accused Devices infringe each
18   element of at least claim 1 of the ’152 patent, either literally and/or under the doctrine
19   of equivalents.
20         62.    Defendants have indirectly infringed and continue to indirectly infringe at
21   least claim 1 of the ’152 patent under 35 U.S.C. § 271, either literally and/or under the
22   doctrine of equivalents, by actively inducing their customers to sell, offer to sell, and/or
23   use the Accused Devices to directly infringe the ’152 patent. This includes Defendants
24   taking active steps to encourage and facilitate others’ direct infringement of the ’152
25   patent with knowledge or willful blindness of that infringement. Upon information and
26   belief, these affirmative acts include, without limitation, advertising, marketing,
27   promoting, offering for sale and/or selling the above-referenced devices, with software
28   containing infringing functionality, to consumers, customers, manufacturers,

                                                 11        COMPLAINT FOR PATENT INFRINGEMENT
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 1   distributers, resellers, partners, and/or end users, and providing instructions, user
 2   manuals, advertising, and/or marketing materials that facilitate, direct, or encourage the
 3   direct infringement of the ’152 patent by others with knowledge thereof. See, e.g.,
 4   https://www.bestbuy.com/site/reviews/westinghouse-50-class-49-5-diag--led-2160p-
 5   smart-4k-ultra-hd-tv/9660184, https://www.walmart.com/ip/Seiki-SE42UM-42-Inch-
 6   4K-Ultra-HD-60Hz-LED-TV-Black/48518879,             https://www.amazon.com/All-New-
 7   Element-4K-Ultra-HD-Smart-TV-Fire-TV-Edition-43-Inch/dp/B06XD4SXWD.
 8         63.      Defendants have contributed to the infringement of, and continue to
 9   contribute to the infringement of at least claim 1 of the ’152 patent under 35 U.S.C.
10   § 271, either literally and/or under the doctrine of equivalents, by selling, offering to
11   sell, and/or importing within or into the United States the Accused Devices, including
12   those with an LED backlight structure as claimed in the ’152 patent. This backlight
13   structure constitutes a material part of the invention of the ’152 patent, is known by
14   Defendants to be especially made or adapted for use in infringing the patent, and is not
15   a staple article or commodity of commerce suitable for substantial noninfringing use.
16         64.      Defendants have had actual knowledge of the ’152 patent at least by
17   virtue of every letter enumerated above (paragraph 36) from Philips, including the
18   earliest letter dated June 22, 2016, which provided notice of the patent and detailed
19   Defendants’ infringement.
20         65.      Philips North America is entitled to recover damages under 35 U.S.C.
21   § 284 to adequately compensate for Defendants’ infringement. Defendants’ ongoing
22   infringement is willful and deliberate, as Defendants became aware of the infringing
23   nature of the Accused Devices at least by June 22, 2016.
24         66.      Philips North America has been and continues to be damaged and
25   irreparably harmed by Defendants’ infringement of the ’152 patent. This irreparable
26   harm will continue unless this Court enjoins Defendants.
27         67.      Defendants’ conduct in infringing the ’152 patent renders this case
28   exceptional within the meaning of 35 U.S.C. § 285.

                                               12         COMPLAINT FOR PATENT INFRINGEMENT
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 1                                   PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiffs respectfully request the Court to enter judgment as
 3   follows:
 4         (a)    A judgment that Defendants have directly infringed, indirectly infringed,
 5   and induced others to infringe one or more claims of each of the Asserted Patents;
 6         (b)    A permanent injunction under 35 U.S.C. § 283, enjoining Defendants and
 7   their officers, directors, agents, servants, affiliates, employees, subsidiaries, parents,
 8   licensees, assigns, and customers, and all others acting in concert or participation with
 9   them, from further acts of infringement, inducing infringement, and/or contributing to
10   the infringement of the Asserted Patents;
11         (c)    A judgment against Defendants for money damages sustained as a result
12   of Defendants’ infringement of the Asserted Patents in an amount to be determined at
13   trial as provided under 35 U.S.C. § 284, including enhanced damages due to, for
14   example, Defendants’ willful infringement of the Asserted Patents;
15         (d)    An accounting for infringing sales not presented at trial and an award by
16   the Court of additional damages for any such infringing sales;
17         (e)    An award of pre-judgment and post-judgment interest on the damages
18   caused by Defendants’ infringing activities and other conduct complained of herein;
19         (f)    A finding that this case is an exceptional case under 35 U.S.C. § 285;
20         (g)    An award of reasonable attorneys’ fees and costs incurred in connection
21   with this action;
22         (h)    A compulsory future royalty; and
23         (i)    Any and all other relief as the Court finds just and proper.
24                               DEMAND FOR JURY TRIAL
25         Plaintiffs hereby respectfully request trial by jury under Rule 38 of the Federal
26   Rules of Civil Procedure of all issues in this action so triable.
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                                                 13        COMPLAINT FOR PATENT INFRINGEMENT
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 1   Dated: February 22, 2019          MASCHOFF BRENNAN LAYCOCK
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 5
                                       By: /s/ Charles S. Barquist
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                                          14       COMPLAINT FOR PATENT INFRINGEMENT
